UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
KATHLEEN ANN MARTIN, ]
]
Plaintiff, ]
] No. 3:09-566
v. ] JUDGE HAYNES
]
DIRECT INSURANCE, ]
l
Defendant. ]
0 R D E R

Plaintiff, Kathleen Ann Martin, filed this p_r_g_ s_e action against the Defendant Direct Insurance.
Plaintiff’s claims arise from an automobile accident on April ll, 2008 in Which Plaintiff Was injured
by the Defendant’ s insured. PlaintifF s complaint alleges that both she and the Defendant are Tennessee
residents. Plaintiff does not identify any non-Tennessee resident who is a party to this action.

Plaintiff bears the burden to meet the pleading requirements necessary to establish the Court’s
jurisdiction Gibbs v. Buck, 307 U.S. 66, 71 (1939). From the nature of her claim, the Plaintiff is
asserting state law claims, but there is not a complete diversity of parties because the Plaintiff and the
Defendant are both alleged to be from Tennessee. Complete diversity of the parties is required for
diversity of jurisdiction Rossum v. Kilgore Corp., 692 F.Supp. 796, 798 (W.D.Tenn. 1988).

Without an ascertainable for the basis of federal jurisdiction, the Court concludes that this
action is DISMISSED-without prejudice to any of the PlaintifF s underlying claims under State law.

It is so ORDERED.

ENTERED this the{_z§ld;y of November, 2009.

d,.

WILLIAM J. , .
United States District udge

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